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                                    OFFICE OF THE FEDERAL DEFENDER
                                        EASTERN DISTRICT OF CALIFORNIA
                                             801 I STREET, 3rd FLOOR
                                         SACRAMENTO, CALIFORNIA 95814
Daniel J. Broderick                          (916) 498-5700 Fax: (916) 498-5710                        Linda C. Harter
Federal Defender                                                                              Chief Assistant Defender



                              M E M O R A N D U M & ORDER THEREON


     DATE:                January 19, 2010

     TO:                  Colleen Lydon, Courtroom Clerk to the
                          Honorable Edward J. Garcia

     FROM:                Matthew C. Bockmon, Assistant Federal Defender

     SUBJECT:             United States v. Ivan Quintero Jimenez
                          Cr.S. 08-420 EJG


            This Memorandum is to confirm counsel’s request to continue Judgment and Sentencing
     presently scheduled for January 29, 2010, to February 12, 2010. I have corresponded with
     Assistant U.S. Attorney Mary Grad and U.S. Probation Officer Brenda Barron-Harrell, and both
     parties concur with this request. The PSR disclosure dates will change as follows:

                         Counsel’s Written Objections shall be due by:            January 22, 2010

                         Pre-Sentence Report shall be filed with the
                         Court and Disclosed to Counsel by:                       January 29, 2010

                         Motion for Correction shall be due by:                   February 5, 2010

                         Judgment and Sentencing:                                 February 12, 2010
                                                                                  at 10:00 a.m.

           Thank you for your attention to this matter. Please contact me with any questions or
     concerns.

     IT IS SO ORDERED.

     Dated: January 20, 2010


                                                              /s/ Edward J. Garcia
                                                              EDWARD J. GARCIA
                                                              United States District Judge

     /vo

     cc:       Brenda Barron-Harrell, USPO
               client
